Case 1:14-ml-02570-RLY-TAB Document 22457 Filed 08/01/22 Page 1 of 2 PageID #:
                                 132651
                                                                                               FILED
                                     UNITED STATES JUDICIAL PANEL                              08/01/2022
                                                  on
                                      MULTIDISTRICT LITIGATION                           U.S. DISTRICT COURT
                                                                                      SOUTHERN DISTRICT OF INDIANA
                                                                                         Roger A.G. Sharpe, Clerk


  IN RE: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND PRODUCTS
  LIABILITY LITIGATION                                                                             MDL No. 2570



                                         (SEE ATTACHED SCHEDULE)



                              CONDITIONAL TRANSFER ORDER (CTO −215)



  On October 15, 2014, the Panel transferred 13 civil action(s) to the United States District Court for the
  Southern District of Indiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
  1407. See 53 F.Supp.3d 1379 (J.P.M.L. 2014). Since that time, 846 additional action(s) have been transferred
  to the Southern District of Indiana. With the consent of that court, all such actions have been assigned to the
  Honorable Richard L. Young.

  It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
  actions previously transferred to the Southern District of Indiana and assigned to Judge Young.

  Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
  the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Southern District of
  Indiana for the reasons stated in the order of October 15, 2014, and, with the consent of that court, assigned to
  the Honorable Richard L. Young.

  This order does not become effective until it is filed in the Office of the Clerk of the United States District
  Court for the Southern District of Indiana. The transmittal of this order to said Clerk shall be stayed 7 days
  from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
  period, the stay will be continued until further order of the Panel.



                                                             FOR THE PANEL:


                Aug 01, 2022
                                                             John W. Nichols
                                                             Clerk of the Panel
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                                 132652




  IN RE: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND PRODUCTS
  LIABILITY LITIGATION                                                        MDL No. 2570



                      SCHEDULE CTO−215 − TAG−ALONG ACTIONS



     DIST     DIV.      C.A.NO.      CASE CAPTION


  NEW YORK WESTERN

     NYW        6       22−06308     Diaz v. Cook Incorporated et al      1:22-cv-6856-RLY-TAB

  PENNSYLVANIA EASTERN

     PAE        2       22−02584     BONNER v. COOK INCORPORATED1:22-cv-6857-RLY-TAB
                                                                 et al

  WASHINGTON EASTERN

     WAE        2       22−00166     Pearson v. Cook Incorporated et al   1:22-cv-6858-RLY-TAB
